                                                                                                                                                                                                            Page:       1
                                           Case 21-20848-jrs                 Doc 202           Filed 01/30/23 Entered 01/30/23 09:25:00                                 Desc
                                                                                                      FORM
                                                                                                   Page  1 of1 4
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                           ASSET CASES
Case No:              21-20848                           JRS              Judge:        James R. Sacca                               Trustee Name:                       Bradley J. Patten, Trustee
Case Name:            Castlerock Development Services, Llc                                                                           Date Filed (f) or Converted (c):    08/26/2022 (c)
                                                                                                                                     341(a) Meeting Date:                10/03/2022
For Period Ending:    12/31/2022                                                                                                     Claims Bar Date:                    04/17/2023


                                   1                                                   2                            3                             4                            5                            6

                         Asset Description                                           Petition/                Est Net Value               Property Formally              Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                              Unscheduled            (Value Determined by               Abandoned                   Received by                Administered (FA)/
                                                                                     Values                Trustee, Less Liens,              OA=554(a)                    the Estate             Gross Value of Remaining
                                                                                                               Exemptions,                                                                                Assets
                                                                                                             and Other Costs)

  1. South State Bank Business Checking                                                          269.47                       0.00                                                        0.00                        FA
  2. Pinnacle Bank Business Checking                                                         26,948.24                        0.00                                                        0.00                        FA
  3. Accounts Receivable 90 days old or less                                                627,785.37                   Unknown                                                          0.00                  Unknown
  4. Accounts Receivable Over 90 days old                                                   130,099.84                   Unknown                                                          0.00                  Unknown
  5. 2 filing cabinets, large desk, chair, small desk and chair, chair,                       4,225.00                        0.00                                                        0.00                        FA
     conference table with 6 chairs, bookcase
  6. Office equipment--TV, 2 printers, cordless phone                                         1,035.00                        0.00                                                        0.00                        FA
  7. 2021 Chevorlet Silverado 1500                                                           43,158.48                        0.00                                                        0.00                        FA
  8. 2021 Chevorlet Silverado 3500                                                           72,655.70                        0.00                                                        0.00                        FA
  9. Finn T-120T Hydroseeder MR-4243                                                         30,000.00                        0.00                                                        0.00                        FA
 10. Grapple Bucket, concrete breaker, pallet forks, hay spear,                              26,400.00                        0.00                                                        0.00                        FA
     smooth bucket, bush hog cutter, harley rake, Bradco Hi Flow
     Trencher, Bradco X1975 36" Auger Bit
 11. 2015 and 2021 Dahlonega Highway, Cumming GA 30040                                             0.00                       0.00                                                        0.00                        FA
     (Lease)
 12. Counter claim against Synergy Rents LLC                                                 Unknown                     Unknown                                                          0.00                  Unknown
 13. Counter claim against B & J Supply LLC                                                  Unknown                     Unknown                                                          0.00                  Unknown
 14. Counter claim against Herc Rentals, LLC                                                 Unknown                     Unknown                                                          0.00                  Unknown
 15. Counterclaim against Marietta Materials, Inc.                                           Unknown                     Unknown                                                          0.00                  Unknown
 16. Counterclaim against Yancey                                                             Unknown                     Unknown                                                          0.00                  Unknown
 17. Accounts Receivable Lennar Corp (u)                                                           0.00                   6,873.57                                                   6,873.57                         FA
 18. Georgia Power Refund (u)                                                                      0.00                     62.01                                                      62.01                          FA
 19. United Community bank account (u)                                                             0.00                   5,496.23                                                   5,496.23                         FA


                                                                                                                                                                                       Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                        $962,577.10                  $12,431.81                                                 $12,431.81                       $0.00
                                                                                                                                                                                            Page:        2
                                        Case 21-20848-jrs               Doc 202          Filed 01/30/23 Entered 01/30/23 09:25:00                         Desc
                                                                                             Page 2 of 4                                                                 (Total Dollar Amount in Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

Debtor's case was converted to a Chapter 7 bankruptcy on 8/26/2022. Debtor created a number of debts while in its Chapter 11 bankruptcy. The Chapter 7 Trustee is retaining
special counsel to review and pursue accounts receivable and any available claims resulting from distributions. Note: The Court entered an order on 1/12/2023 (Docket No. 196)
allowing employment of special counsel.




Initial Projected Date of Final Report (TFR): 01/31/2024            Current Projected Date of Final Report (TFR): 01/31/2024

Trustee Signature:       /s/ Bradley J. Patten, Trustee       Date: 01/30/2023
                         Bradley J. Patten, Trustee
                         Smith, Gilliam, Williams & Miles, P.A.
                         P.O. Box 1098
                         Gainesville, GA 30503
                         (770) 536-3381
                                                                                                                                                                                                  Page:           1
                                       Case 21-20848-jrs              Doc 202    Filed 01/30/23
                                                                                       FORM 2
                                                                                                  Entered 01/30/23 09:25:00                                     Desc
                                                                                     Page  3 of 4
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 21-20848                                                                                             Trustee Name: Bradley J. Patten, Trustee
      Case Name: Castlerock Development Services, Llc                                                                      Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0690
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX3525                                                                              Blanket Bond (per case limit): $31,475,000.00
For Period Ending: 12/31/2022                                                                             Separate Bond (if applicable):


       1                2                            3                                            4                                                        5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction                 Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                                                         Balance Forward                                                                                                                  $0.00

   10/14/22                     Lennar Corporation                       Accounts Receivable Lennar                               1121-000                  $6,873.57                                 $6,873.57
                                Lennar Georgia, LLC                      Corp
                                Atlanta Homebuilding Division
                                100 Holcomb Woods Parkway
                                Bldg. 400 STE 300
                                Gainesville, GA 30501

   10/14/22            17       Lennar Corporation                       Accounts Receivable Lennar                               1221-000                  $6,873.57                               $13,747.14
                                                                         Corp
   10/14/22                     Lennar Corporation                       Accounts Receivable Lennar                               1121-000                ($6,873.57)                                 $6,873.57
                                Lennar Georgia, LLC                      Corp Reversal
                                Atlanta Homebuilding Division            Printer error on deposit slip.
                                100 Holcomb Woods Parkway
                                Bldg. 400 STE 300
                                Gainesville, GA 30501

   11/17/22            18       Georgia Power                            Overpayment Credit from                                  1229-000                     $62.01                                 $6,935.58
                                PO Box 105537                            Georgia Power
                                Atlanta, GA 30348
   11/28/22            19       United Community Bank                    Closing account for Castlerock                           1229-000                  $5,496.23                               $12,431.81
                                                                         Development Services, LLC
   12/01/22                     Axos Bank                                Bank Service Fee under 11                                2600-000                                           $7.56          $12,424.25
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)


                                                                                                            COLUMN TOTALS                                 $12,431.81                 $7.56
                                                                                                                  Less: Bank Transfers/CD's                     $0.00                $0.00
                                                                                                            Subtotal                                      $12,431.81                 $7.56
                                                                                                                  Less: Payments to Debtors                     $0.00                $0.00
                                                                                                            Net                                           $12,431.81                 $7.56




                                                                                Page Subtotals:                                                           $12,431.81                 $7.56
                                                                                                                                                                        Page:     2
                                 Case 21-20848-jrs                Doc 202          Filed 01/30/23 Entered 01/30/23 09:25:00            Desc
                                                                                       Page 4 of 4


                                                                                                   TOTAL OF ALL ACCOUNTS
                                                                                                                                                    NET             ACCOUNT
                                                                                                                 NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                      XXXXXX0690 - Checking                                           $12,431.81                   $7.56            $12,424.25
                                                                                                                      $12,431.81                   $7.56            $12,424.25

                                                                                                                (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                        transfers)            to debtors)
                                                      Total Allocation Receipts:                       $0.00
                                                      Total Net Deposits:                          $12,431.81
                                                      Total Gross Receipts:                        $12,431.81



Trustee Signature:   /s/ Bradley J. Patten, Trustee    Date: 01/30/2023

                     Bradley J. Patten, Trustee
                     Smith, Gilliam, Williams & Miles, P.A.
                     P.O. Box 1098
                     Gainesville, GA 30503
                     (770) 536-3381




                                                                              Page Subtotals:                                          $0.00                $0.00
